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     United States Attorney
2
     MARK L. KROTOSKI (CASBN 138549)
3    Chief, Criminal Division
4    GARTH HIRE (CASBN 187330)
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8
     Attorneys for Plaintiff
9
                                  UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12
     UNITED STATES OF AMERICA,                   )        No. CR 06-00189 SBA
13                                               )
             Plaintiff,                          )        STIPULATION AND PROTECTIVE
14                                               )        ORDER REGARDING PRODUCTION OF
        v.                                       )        CONFIDENTIAL DISCOVERY
15                                               )
     MICHAEL GREEN JOHNSON, et al.,              )
16                                               )
             Defendants.                         )
17                                               )
18
        Plaintiff, by and through its attorney of record, and defendants, by and through their
19
     attorneys of record, hereby stipulate as follows:
20
        1. On March 23, 2006, a federal grand jury indicted defendants for conspiracy to distribute,
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     and to possess with intent to distribute, cocaine, cocaine base, and methamphetamine in violation
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     of Title 21, United States Code, Section 846, and distribution, and possession with intent to
23
     distribute, cocaine, cocaine base, and methamphetamine in violation of Title 21, United States
24
     Code, Section 841(a)(1).
25
        2. The indictment followed an approximately five-month wiretap investigation. In its
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     applications for wiretap orders the government relied on information provided by, and controlled
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     purchases of narcotics conducted by, confidential sources whom the government believes could
28

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1    be in danger if their identities were determined from the wiretap applications, related documents,

2    and other materials regarding confidential sources and witnesses.

3        3. The government believes that the proposed protective order is necessary to prevent

4    certain discovery materials from being disseminated among members of the public and the

5    various defendants in this case, as well as their associates and family members. The government

6    is particularly concerned about the wiretap affidavits and related documents because the

7    identities of confidential sources and informants could be determined from those materials. The

8    government believes that the proposed protective order will greatly reduce the possibility that

9    individuals will misuse discovery materials to identify, intimidate, and/or harm confidential

10   sources, witnesses, and/or defendants. The parties do not anticipate that a large volume of

11   material will need to be covered by this protective order.

12       4. Defendants and their counsel deny that any person would be endangered by defendants’

13   possession of any discovery material in this matter. The parties agree that no inference should

14   be drawn about defendants’ dangerousness because of their agreement to enter into this

15   stipulation.

16       5. The parties agree that the following conditions, if ordered by the Court pursuant to

17   Federal Rule of Criminal Procedure 16(d)(1), should serve the government’s interest in

18   protecting confidential sources, defendants, and other members of the community and reducing

19   the risk of retribution taken against confidential sources by precluding the circulation of the

20   wiretap affidavits and other related documents throughout the prison system and the community,

21   while permitting the defense to obtain discovery required by Federal Rule of Criminal Procedure

22   16.1 Accordingly, the parties jointly request that the Court order as follows:

23           a.     For purposes of this Order, the term “defense team” refers to: (1) the counsel of

24   record for defendants; (2) the joint defense motions/research attorney; (3) defense investigators

25   assisting those counsel with this case; (4) any expert witnesses who may be retained or appointed

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             1
27              The parties agree that the purpose of this stipulation is to regulate the manner in which
     confidential discovery is produced and is not intended to govern the timing of the production of any
28   discovery in this case.

     STIPULATION AND PROTECTIVE ORDER
     RE CONFIDENTIAL DISCOVERY                        2
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1    by the defense team; and (5) any discovery coordinator and his or her staff whose function is to

2    copy and disseminate discovery provided by the government to the defendants’ counsel. Each

3    member of the defense team must provide the government with a letter indicating that they have

4    read this stipulation and agree to be bound by its terms. For purposes of this Order, the term

5    “defense team” does not include defendants.

6           b.      The government is authorized to provide each defense team with discovery

7    required by F.R.Cr.P. 16 and may, in its discretion, designate any discovery produced as

8    “Confidential Discovery” to be governed by the terms of this protective order. The government

9    may designate discoverable documents, items, and materials relating to confidential sources or

10   other individuals who would be in danger if their identities were known, by marking such

11   discovery as “CONFIDENTIAL” and shall produce such discovery on a CD marked

12   “WARNING: CONTENTS SUBJECT TO PROTECTIVE ORDER. UNAUTHORIZED

13   COPYING OR VIEWING IS SUBJECT TO PUNISHMENT AS CONTEMPT OF COURT.”

14          c.      The defense teams shall not permit anyone, including defendants, to have physical

15   possession of Confidential Discovery pursuant to this Order other than the defense teams.

16          d.      A defense team shall not divulge the contents of any Confidential Discovery

17   provided pursuant to this Order to anyone other than the individual defendant it represents. A

18   defense team member may show Confidential Discovery to the individual defendant it represents

19   in the physical presence of a defense team member but may not permit that defendant to have

20   physical possession of the Confidential Discovery.

21          e.      The defense team shall not permit Confidential Discovery provided pursuant to

22   this Order to be outside of the defense team’s offices, homes, vehicles, or personal presence.

23   The defense team may take Confidential Discovery into a custodial facility to show it to the

24   individual defendant it represents but, as explained above, the defense team must maintain

25   physical possession of the Confidential Discovery and may not allow the defendant to have

26   physical possession of the Confidential Discovery.

27          f.      In the event that one of the parties files a pleading that references or contains

28   Confidential Discovery or information therefrom, that filing must be made under seal.

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1
2           g.      Each defense team shall return all Confidential Discovery provided pursuant to

3    this Order to the government fourteen calendar days after the following event: dismissal of all

4    charges against defendant; defendant’s acquittal by court or jury; filing of a notice of appeal

5    from conviction and/or sentence; or the conclusion of any direct appeal, whichever occurs latest

6    in time. In the event that the defense team has made notes or marks on the Confidential

7    Discovery constituting work product the defense team shall return the materials to the

8    government in a sealed container labeled “WORK PRODUCT-DESTROY.”

9           h.      In the event that a defendant’s counsel believes that a document or other item of

10   discovery identified by the government as Confidential Discovery covered by this protective

11   order needs to be retained or possessed by defendant himself or herself, defendant’s counsel

12   shall first meet and confer with the government in an effort to reach a stipulation and proposed

13   order to exempt the item or document from the protective order. If the government and a

14   defendant’s counsel are unable to reach such an agreement then defendant’s counsel may apply

15   to this Court for relief from the protective order as to the document or item of discovery at issue.

16   This procedure is not intended to alter in any way the otherwise applicable law relating to the

17   showing that must be made by any party seeking a protective order or relief therefrom.

18          i.      After the conclusion of proceedings in the district court or any direct appeal in the

19   above-captioned case (“this case”), the government will maintain a copy of all Confidential

20   Discovery produced in this case. The government will maintain such documents until the time

21   period for filing a motion pursuant to 28 U.S.C. § 2255 has expired. After the statutory time

22   period for filing such a motion has expired, the government may destroy the documents. In the

23   event a defendant is represented by counsel and files a motion pursuant to 28 U.S.C. § 2255, the

24   government will provide that counsel with a copy of the Confidential Discovery under the same

25   restrictions as trial and direct appeal defense counsel. Defendant’s attorney in any action under

26   28 U.S.C. § 2255 shall return the Confidential Discovery fourteen calendar days after the district

27   ///

28   ///

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1    ///

2    court’s ruling on the motion or fourteen calendar days after the conclusion of any direct appeal

3    of the district court’s denial of the motion, whichever is later.

4          IT IS SO STIPULATED.

5    DATE: July 3, 2006                                     Respectfully submitted,

6                                                           KEVIN V. RYAN
                                                            United States Attorney
7
8                                                                      /s/2
                                                            GARTH HIRE
9                                                           JAMES E. KELLER
                                                            Assistant United States Attorneys
10
                                                            Attorneys for Plaintiff
11                                                          UNITED STATES OF AMERICA

12
13          /s/                                                      /s/
     MARK VERMEULEN, ESQ.                                   HAROLD ROSENTHAL, ESQ.
14
     Counsel for Michael Green Johnson                      Counsel for Bobby Ray Williams
15
16
             /s/                                                    /s/
17   RICHARD TAMOR, ESQ.                                    MARY McNAMARA, ESQ.

18   Counsel for Eddie Sherman Thomas                       Counsel for Jose Carlos Batriz

19
20            /s/                                                    /s/
     JULIANA DROUS, ESQ.                                    TONY TAMBURELLO, ESQ.
21
     Counsel for Stephen Louis Montgomery                   Counsel for Demetriz Louis
22
23
              /s/                                                     /s/
24   ALAN DRESSLER, ESQ.                                    GERI LYNN GREEN, ESQ.

25   Counsel for Antoine Demetrious Smith                   Counsel for Martin Eugene Roberts

26
27
             2
28             I hereby attest that I have on file all the holograph signatures for any signatures indicated
     by a “conformed” signature (/s/) within this e-filed document.

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1
                   /s/                                              /s/
2    JOYCE LEAVITT, ESQ.                                  BRIAN P. BERSON, ESQ.
     Assistant Federal Public Defender
3
     Counsel for Carl Gatlin                              Counsel for Terrance Thomas
4
5
             /s/                                                   /s/
6    MICHAEL STEPANIAN, ESQ.                              V. ROY LEFCOURT, ESQ.

7    Counsel for Leon Wilson                              Counsel for Tanya Walton

8
9            /s/                                                  /s/
     ERIK BABCOCK, ESQ.                                   NINA WILDER, ESQ.
10
     Counsel for Sherman Gay                              Counsel for Mark Gibson
11
12
                                                  ORDER
13
        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED: The government is hereby
14
     authorized, pursuant to Federal Rule of Criminal Procedure 16, to disclose discovery to the
15
     defense and may designate discovery to be governed by this protective order as Confidential
16
     Discovery. The parties are hereby ordered to comply with the conditions set forth in paragraphs
17
     5(a)-(i) of this stipulation and order pursuant to Federal Rule of Criminal Procedure 16(d)(1).
18
19
20
     DATED: 7/5/06
21                                                HONORABLE SAUNDRA B. ARMSTRONG
                                                  UNITED STATES DISTRICT JUDGE
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     STIPULATION AND PROTECTIVE ORDER
     RE CONFIDENTIAL DISCOVERY                       6
